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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


NATIONAL TREASURY EMPLOYEES
UNION, et al.,

                       Plaintiffs,

        v.                                           Case No. 1:25-cv-00381-ABJ

RUSSELL VOUGHT, in his official
capacity as Acting Director of the Consumer
Financial Protection Bureau, et al.,

                       Defendants.


                    NOTICE IN RESPONSE TO MINUTE ORDER
             REGARDING THE STATUS OF CFPB’S HEADQUARTERS LEASE

       On March 28, 2025, this Court issued a Minute Order directing Defendants to inform the

Court of the status of the lease for the headquarters of the Consumer Financial Protection Bureau

(“CFPB”). CFPB and the Department of the Treasury’s Office of the Comptroller of the Currency

(which is the building’s owner) are still in negotiations over the final termination agreement for

the CFPB Headquarters Building at 1700 G Street, N.W., in Washington, D.C. CFPB notes,

however, that its four leases for regional offices located in Chicago, New York, San Francisco,

and Atlanta were terminated by the General Services Administration on February 21, 2025. The

approximately 53 CFPB employees who worked out of those four regional offices have or will be

provided with remote access to CFPB systems.
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Dated: March 31, 2025               YAAKOV M. ROTH
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                                    /s/ Brad P. Rosenberg
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